     Case 3:24-cr-00496-RK Document 4 Filed 08/01/24 Page 1 of 1 PageID: 13

                         UNITED STATES DISTRICT COURT
                        FOR THE District of New Jersey [LIVE]
                    U.S. District Court for the District of New Jersey

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 3:24−cr−00496−RK
                                                        Judge Robert Kirsch
CHAIM ELIMELECH PURETZ
                                        Defendant.


                                         ORDER


    Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, and as set forth on
the record during the initial appearance of the defendant on 8/1/2024, in the presence of
both the prosecutor and defense counsel in this matter, the Court confirms the United
States' continuing obligation to produce all exculpatory evidence to the defendant pursuant
to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so. Failing to
do so in a timely manner may result in consequences, including, but not limited to, the
Court's order to produce information, the granting of a continuance, the exclusion of
evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or
sanctions by the Court.



                                                                    s/ Judge Robert Kirsch
                                                                       United States Judge
